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                                United States District Court
                                       EASTERN DISTRICT OF TEXAS
                                          TEXARKANA DIVISION


    UNITED STATES OF AMERICA                           §
                                                       §
    V.                                                 §           CASE NO. 5:06CR23(3)
                                                       §
    ELVIN JOSE AGUILAR                                 §


                  ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                            FINDING DEFENDANT GUILTY

           On this day, the Court considered the Findings of Fact and Recommendation of United States

    Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 3 of an Indictment in

    violation of Title 21, USC, Section 841(a)(1). Having conducted a proceeding in the form and manner

    prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court accept the guilty plea

    of the Defendant. No objections to the Findings of Fact and Recommendation have been filed. The Court

    is of the opinion that the Findings of Fact and Recommendation should be accepted.

.          It is accordingly ORDERED that the Findings of Fact and Recommendation of the United States

    Magistrate Judge, filed October 10, 2006, are hereby ADOPTED.

           It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

    GUILTY of Count 3 of the Indictment in the above-numbered cause.

            SIGNED this 30th day of October, 2006.




                                                           ____________________________________
                                                           DAVID FOLSOM
                                                           UNITED STATES DISTRICT JUDGE
